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 4
   Attorney for Defendant
 5 Barbara Y. Brown
 6
                                 UNITED STATES DISTRICT COURT
 7
                                 EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,                    )
10                                                )
                   Plaintiff,                     )   Case No. 06-CR 428 KJM
11                                                )
           v.                                     )
12                                                )
     DARYL SUMMERFIELD et al.,                    )   STIPULATION AND ORDER MODIFYING
13                                                )   CONDITIONS OF RELEASE OF
                   Defendants.                    )   DEFENDANT BARBARA Y. BROWN
14                                                )
                                                  )
15
16
17         The parties agree that good cause exists to remove Ms. BROWN from the terms and
18 conditions of Pretrial Supervision because she has no violations of the conditions for more than
19 five years and the concerns of flight risk and danger have been rebutted in her particular case.
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21 ///
22 ///
23 ///
24 ///
25 ///
26 ///
27
     STIPULATION AND [PROPOSED] ORDER
28   TERMINATING PRETRIAL SUPERVISION
     OF DEF. BARBARA Y. BROW N
     (No. 06-CR 428 DFL)                              1
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 1         Therefore, based upon the agreement of the parties and the request of the Pretrial Services
 2 Officer, IT IS HEREBY ORDERED that the conditions of release of defendant BARBARA Y.
 3 BROWN are modified as follows: Defendant Barbara Y. Brown shall be removed from Pretrial
 4 Supervision
 5
 6 SO STIPULATED:
 7
     DATED: April 14, 2011                                   /s/
 8                                              Jason Hitt
                                                Assistant United States Attorney
 9
10 SO STIPULATED:
11
     DATED: April 14, 2011                                 /s/
12                                              George G. Walker
                                                Attorney for Defendant
13                                              Barbara Y. Brown
14
15         IT IS SO ORDERED.
16
17
     DATED: April 18, 2011
18
19
20
21                                              _____________________________________
                                                KENDALL J. NEWMAN
22                                              UNITED STATES MAGISTRATE JUDGE
23
24
25
26
27
     STIPULATION AND [PROPOSED] ORDER
28   TERMINATING PRETRIAL SUPERVISION
     OF DEF. BARBARA Y. BROW N
     (No. 06-CR 428 DFL)                            2
